                     UNITED STATES DISTRICT COURT

                    EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                CRIMINAL ACTION


v.                                                      NO. 20-139


NICOLE BURDETT                                          SECTION “F”



                            ORDER AND REASONS


     Before   the   Court   is   Nicole   Burdett’s   motion   to   dismiss

indictment and stay proceedings due to jury selection violations.

For the reasons provided by Judge Ashe on June 2, 2021 in Record

Document 529 of Criminal Action Number 16-32, United States v.

Age, the motion is DENIED.

                                 Background

     Joining other defendants indicted in other Sections of this

Court, Nicole Burdett challenges the constitutionality of the

Clerk of Court’s jury selection process and the Clerk’s alleged

failure to comply with the provisions of the Jury Service and

Selection Act.      Ms. Burdett adopts arguments advanced by Louis

Age, Jr. (and his co-defendants) in Criminal Action Number 16-32,

United States v. Age, et al., pending before Judge Ashe in another

Section of this Court.      There, Mr. Age contended that the grand

jury returned an indictment that “was not drawn from a fair cross-

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section of the community” and thus violated the fair cross-section

guarantee of the Sixth Amendment; that “the systemic exclusion of

black prospective jurors is inherent in the jury selection method

used in the Eastern District of Louisiana”; and that the method of

jury selection by the Clerk’s Office is “systematically biased

against      fair     and       reasonable        representation       of     the    black

community.”         In    a   comprehensive         and   amply    supported        33-page

opinion,     Judge       Ashe    determined        that    these   contentions        were

unfounded and, therefore, denied the defendants’ motion to quash

the indictment.

                                             I.

       Nicole Burdett now moves to dismiss the tax fraud indictment

due    to   alleged      improprieties       in     the    jury    selection        process

implemented by the Clerk’s Office for this Court. 1                         As she did

alongside her co-defendant in Criminal Action Number 20-55, Ms.

Burdett adopts in full other defendants’ arguments and requests

that   the    Court      dismiss    the   pending         indictment    and    stay     all

proceedings in this case “until the method of jury selection




1  This Order and Reasons assumes familiarity with prior
proceedings. Given the generic nature of the defendant’s challenge
(and the government’s response), the Court need not revisit the
specifics of the indictment pending in Criminal Action Number 20-
139 to resolve the adopted motion. Indeed, the Court denied the
motion to dismiss that Ms. Burdett filed along with Jason Williams
pertaining to the separate indictment pending in Criminal Action
Number 20-55.
                                             2
adopted    in    this     [Eastern]   District       is    reformed    to    meet   the

requirements of the Sixth Amendment and the Jury Selection and

Service Act of 1968 (“JSSA”), 28 U.S.C. §§ 1861, et seq.”                      For its

part, the government has adopted the opposition papers filed in

the Age case. 2      Given the complete identity of issues, it urges

the Court to adopt Judge Ashe’s ruling and deny the motion to

dismiss.    The Court does so now.

     As it did when it denied the defendants’ motion to dismiss

Criminal    Action      Number   20-55,       this   Section    of     Court   hereby

incorporates by reference Judge Ashe’s Order and Reasons dated

June 2, 2021.       The Court adopts in full the entirety of the June

2 Order and Reasons, including Judge Ashe’s summary of the jury

selection       challenge    presented;       his    summary    of     the   evidence

presented by the parties and produced by the Clerk (a record which

Judge Ashe aptly observed “contain[ed] no real conflicts”); his

summary of the law including the Sixth Amendment fair-cross-

section guarantee and the mandate of the JSSA; and his ultimate

determination       and     supporting    reasons         finding     that   (i)    the

defendants have not carried their burden of demonstrating a Sixth



2 Although the Court has determined that it shall jointly try
Criminal Action Numbers 20-55 and 20-139, the Court reminds all
counsel that the indictments remain separate and the cases remain
administratively separate. The Court assumes that the government
adopts in full the opposition filed in the Age case, as it did in
response to the motion to dismiss filed by Jason Williams and
Nicole Burdett in Criminal Action Number 20-55.
                                          3
Amendment violation in the jury-selection process utilized to

select the grand jury that indicted the defendants; and (ii) the

defendants have not carried their burden of proving a prima facie

JSSA violation.

        Having   reviewed   the   Order   and   Reasons   and   the   relevant

portions of the record, and having considered the arguments and

submissions by the parties and the Clerk, this Section of Court

wholly agrees with Judge Ashe that “there is absolutely no evidence

that there have been any improprieties in the selection process or

that jurors have been selected in a non-random manner.”                Id. at

32. 3    That this district proactively is examining other federal

courts’ plans and procedures “to identify best practices for

encouraging and maximizing the return, and rates of return, of

completed juror qualification forms” will surely “enhance and




3 As Judge Ashe did, the Court underscores that: (a) as to the
relevant master jury wheel, which is derived from the district’s
voter rolls, the defendants conceded that the race report for the
master wheel indicated that it had a racial makeup consistent with
that of the district; (b) as to the qualified jury wheel, the
defendants’ argument that an 11.84% absolute disparity is
intolerable simply fails as a matter of law in the Fifth Circuit.
Similarly, the Court echoes Judge Ashe’s emphasis on the
significance of the unreturned juror qualification form factor.
The defendants simply fail to persuade how the Clerk might control
this non-random, external factor. As Judge Ashe observed, systemic
exclusion is simply “not present when the underrepresentation is
due to external forces” ... not to mention that a facially neutral
selection process, which Judge Ashe found and this Section of Court
finds here, renders systemic exclusion unlikely. See id. at 21-
29, 31.
                                      4
advance the district’s goal of selecting juries from a fair cross-

section of its community.”     Id. at 33.

     For   the   reasons   provided       by   Judge   Ashe   in   the   opinion

incorporated by reference and filed into the record here as an

exhibit to this Order and Reasons, IT IS ORDERED: that the motion

to dismiss is DENIED.

                        New Orleans, Louisiana, June 23, 2021


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                                      MARTIN L. C. FELDMAN
                                  UNITED STATES DISTRICT JUDGE




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